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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND


 STEVEN D. MURRAY,

                           Plaintiff,

            v.
                                                           C.A. No. 1:23-cv-00469-WES-LDA
 COMMUNITY COLLEGE OF RHODE
 ISLAND, alias, COUNCIL ON POST
 SECONDARY EDUCATION, alias, and
 ROSEMARY COSTIGAN, alias, in her
 individual and official capacities,

                           Defendants.


                                    STIPULATION OF DISMISSAL

            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties stipulate to the dismissal of this

 action, with prejudice, with all rights of appeal waived, and with each party to bear its own costs

 and attorneys’ fees, unless otherwise provided by agreement.

  Plaintiff,                                             Defendants,
  STEVEN D. MURRAY                                       COMMUNITY COLLEGE OF RHODE
  By his attorneys,                                      ISLAND, COUNCIL ON POST
                                                         SECONDARY EDUCATION and
                                                         ROSEMARY COSTIGAN
                                                         By their attorney,

  /s/ Richard A. Sinapi                                  /s/ Steven M. Richard
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 Dated: August 27, 2024


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